Case 1:17-cv-02989-AT Document 1-13 Filed 08/08/17 Page 1 of 3

Fulton County Superior Court
**FFILED***RM

Date: 8/7/2017 12:00:00 AM
Cathelene Robinson, Clerk

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHERIFF’S ENTRY OF SERVICE SUPERIOR COURT
Civil Action No. 01 76 V9 LUakton County Shier. sO SGBORGIA, FULTON COUNTY

wad Process
DateFiled Jr ly 3, 2017 — ve De.n5 Curltay ef al,

: ACSTYER 7
Attorney’s Address '
Holcomb + Word, LLP Le 00 JUL 27 2017 Plaintiff
3799 Peachtree Rb yi TG Coin Ave, 9" Floor VS.
Atlanta, GA 30709 Atlanta, GA 30303
Name and Address of Party to be Served Brinn? Kemp e+ al
Br ton f. Kemp 444 Seeevbevy of Cbd a~d Cher f
State Election R,
LIY Shite Capitol * Beard Defendant
‘Atlanta , GA 2033 Chul. Ca)
SHERIFF’S ENTRY OF SERVICE

Thave this day served the defendant personally with a copy

2 of the within action and summons.

Zz

So

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Pu T have this day served the defendant by leaving a copy
of the action and summons at this most place notorious place of abode in this county.

“a

B Delivered same into hands of. described as follows

mK o age, about years; weight, about_____ pounds; height about___feet and___ inches, domiciled at the residence of the

BY defendant.

az

a corporation
¢

s in charge of the office and place of doing business of’said Corporation in this County.

8 I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the
door of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of the same
in the United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said

summons, with adequate postage affixed thereon continuing notice to the defendant(s) to answer said summons at the

3 place stated in the summons.

¥ O

S Diligent search made and defendant
not to be found in the jurisdiction of this court.

a

v

Bo MS thls Leg /

B This day of. : 20/7.

Z

Dgo Moga Bearn

DEPUTY
SHERIFF DOCKET PAGE

WHITE - CLERK; CANARY - PLAINTIFF; PINK - DEFENDANT
Case 1:17-cv-02989-AT Document 1-13 Filed 08/08/17 Page 2 of 3

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SHERIFF'S ENTRY OF SERVICE

NOTORIOUS PERSONAL

CORPORATION

NONEST TACK & MAIL

SHERIFF'S ENTRY OF SERVICE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Superior Court i Magistrate Court Q
State Court Q Probate Court QO
Civil Action No. tO \7 Cy 4 0233 Juvenile Court QO
Date Filed TI] 3119 Georgia, Fulton COUNTY
Attorney’s Address Donna Curling ' e+ al.
Plaintiff
- VS.
Name and Address of Party to be Served. Brian Keine ,—_ et Gl.
Mc. Vole Simoson :
Defendant
36077 Pork Ave Noctn
Tifton Gr 31944
Garnishee
HERIFER’S ENTRY OF SERVICE
I have this day served the ettin aly wlan personally with a copy
of the within action and summons.
I have this day served the defendant by leaving a
copy of the action and summons at his most notorious place of abode in this County.

(J Delivered same into hands of. described as follows:
ape, about_______years; weight___-—_ pounds; height, about____ feetand______ inches, domiciled at the residence of
defendant.

Served the defendant, a corporation

 

 

( by leaving a copy of the within action and summons with

in charge of the office and place of doing business of said Corporation in the County.

 

[ have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the
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First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed

thereon containing notice to the defendant(s) to answer said summons at the place stated in the summons.

 

Diligent search made and defendant

not to be found in the jurisdiction of this court.

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SHERIFF DOCKET PAGE WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT

 

 

 

DEPUTY
Case 1:17-cv-02989-AT Document 1-13 Filed 08/08/17 Page 3 of 3

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SHERIFF'S ENTRY OF SERVICE

 

 

 

 

 

 

 

 

 

 

 

 

SHERIFF’S ENTRY OF SERVICE
Superior Court x Magistrate Court Qa
Q Prob
Civil Action No. coin Cy o4 0233 Pcie QO — :
Date Filed T1319 Georgia, Fulton COUNTY
Attorney’s Address Donna Cucling i ex al.
Plaintiff
= VS.
Name and Address of Party to be Served. Brian KA ' Qe al.
Mc, Polo Siposon oo
Defendant
36247 Pork Ave Nocn
Tiitun ‘ (ax 3IVQu
Garnishee

SHERIFF'S ENTRY QF SERVICE

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of the within action and summons.

PERSONAL

 

 

 

 

 

 

 

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& (J Delivered same into hands of. described as follows:
8 age,about____—_years; weight pounds; height, about feetand______—_—_ inches, domiciled at the residence of
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z
2 Served the defendant a corporation
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thereon containing notice to the defendant(s) to answer said summons at the place stated in the summons.

Diligent search made and defendant

not to be found in the jussactienion < of this court.
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This day of Zea ae ,20 ( [

NONEST TACK & MAIL

 

 

 

 

DEPUTY

SHERIFF DOCKET PAGE : WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
